            IN THE UNITED STATES DISTRICT COURT
           FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION



KAY GHORLEY, individually and
as administrator of the estate of
Benjamin Ghorley, deceased,

      Plaintiff,
                                        CIVIL ACTION FILE
v.
                                        NO. 1:17-cv-3091-TCB
BAXTER HEALTHCARE
CORPORATION; BAXTER
INTERNATIONAL INC.; and
DVA HEALTHCARE RENAL
INC. d/b/a ROME DIALYSIS,

      Defendants.



                               ORDER

     In November 2012, decedent Benjamin Ghorley, age sixty-seven,

was diagnosed with end-stage renal disease, or kidney failure, and

began dialysis to filter his blood. Originally, he was placed on

hemodialysis, which was performed at a dialysis center. In March 2013,

he was placed on peritoneal dialysis (“PD”), a form of at-home dialysis.
PD involves use of MiniCaps, which are plastic caps soaked with

peridone-iodine solution that help keep the dialysis sanitary.

      On December 11, 2014, Mr. Ghorley died. His widow, Plaintiff Kay

Ghorley, individually and as administratix of his estate, alleges that

Mr. Ghorley died from peritonitis after he used a defective MiniCap

during the course of his dialysis.

      Before beginning PD, Mr. Ghorley received training on aseptic

technique and proper use of the dialysis equipment.1 In August 2014,

during a PD home environment evaluation, a nurse indicated that Mr.

Ghorley had trouble connecting the machine lines to bags without

touching other surfaces, thereby increasing his risk of infection.

      In August 2014, Mr. Ghorley contracted and was treated for his

first bout of peritonitis. In November 2014, he contracted his second

bout of peritonitis. When he was discharged from the hospital following

his second bout of peritonitis, he did not show any signs of infection. He

died that December.



      1 Aseptic technique is required to reduce the risk of infection because the PD
catheter provides direct access into the peritoneum.

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      The death certificate states that Mr. Ghorley died from acute

respiratory failure, aspiration pneumonia, encephalopathy, and protein

malnutrition. The death certificate does not mention peritonitis.

      In January 2015, Defendant Baxter Healthcare Corporation

recalled eight lots of MiniCaps following customer complaints of issues

with the sponges in some MiniCaps. Not all MiniCaps in those lots were

defective.2 That month, Baxter Healthcare sent an urgent recall letter

to the Ghorleys instructing Mr. Ghorley (who had already died) to

return any unused MiniCaps. The recall letter warned that the use of a

defective MiniCap may lead to an increased risk of peritonitis.

Defendants had sent the Ghorleys MiniCaps from two of the recalled

lots in the months leading up to Mr. Ghorley’s death. As stated

previously, Mrs. Ghorley alleges that prior to his death Mr. Ghorley

received defective MiniCaps which caused his peritonitis, and in turn,

his death.




      2In 2014, Baxter Healthcare received a total of 263 complaints, or eleven
complaints per million MiniCaps manufactured.

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     On November 17, 2016, Mrs. Ghorley brought this action in the

State Court of Gwinnett County. On August 15, 2017, Defendants

removed the case to this Court.

     Currently before the Court is Defendants Baxter Healthcare

Corporation, Baxter International Inc. (collectively, “Baxter”), and DVA

Healthcare Renal Inc.’s motion [66] to exclude the opinions of Plaintiff’s

experts Dr. Ronald Fishbach, Dr. David Ross, and Mr. J.P. Gingras.

I.   Legal Standard

     Federal Rule of Evidence 702, which governs the admissibility of

expert testimony, provides that

            A witness who is qualified as an expert by knowledge,
     skill, experience, training, or education may testify in the
     form of an opinion or otherwise if: (a) the expert’s scientific,
     technical, or other specialized knowledge will help the trier
     of fact to understand the evidence or to determine a fact in
     issue; (b) the testimony is based on sufficient facts or data;
     (c) the testimony is the product of reliable principles and
     methods; and (d) the expert has reliably applied the
     principles and methods to the facts of the case.

Although the rules provide the Court with only limited guidance, the

United States Supreme Court’s opinion in Daubert v. Merrell Dow

Pharmaceuticals, Inc., 509 U.S. 579 (1993), is instructive. “Unlike an

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ordinary witness, . . . an expert is permitted wide latitude to offer

opinions, including those that are not based on firsthand knowledge or

observation.” Id. at 592 (citation omitted). Trial courts therefore act as

“gatekeepers” to ensure that a proposed expert’s testimony is not only

relevant, but reliable. Id. at 589. To that end, district courts are

“charged with screening out experts whose methods are untrustworthy

or whose expertise is irrelevant to the issue at hand.” Corwin v. Walt

Disney Co., 475 F.3d 1239, 1250 (11th Cir. 2007).

     As a gatekeeper, the trial court should conduct a “rigorous

three-part inquiry” to determine whether

     (1) the expert is qualified to testify competently regarding
     the matters he intends to address; (2) the methodology by
     which the expert reaches his conclusions is sufficiently
     reliable as determined by the sort of inquiry mandated in
     Daubert; and (3) the testimony assists the trier of fact,
     through the application of scientific, technical, or specialized
     expertise, to understand the evidence or to determine a fact
     in issue.

United States v. Frazier, 387 F.3d 1244, 1260 (11th Cir. 2004) (quoting

City of Tuscaloosa v. Harcros Chems., Inc., 158 F.3d 548, 562 (11th Cir.

1998)). Although there is inevitable overlap among the three prongs of

this analysis, trial courts must be cautious not to conflate them, and the
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proponent of expert testimony bears the burden to show that each

requirement is met. Id.

     Daubert sets forth a list of factors to be considered regarding the

reliability of a proposed expert’s testimony. These factors include (1)

whether the expert’s theory can be and has been empirically tested; (2)

whether the expert’s theory has been subjected to peer review and

publication; (3) the known or potential error rate of the expert’s theory;

and (4) whether the expert’s theory is generally accepted in the

scientific community. Daubert, 509 U.S. at 593–94.

     These factors bear on the Court’s inquiry, but do not compose a

definitive checklist. Id. at 593. Not every factor “will apply in every

case, and in some cases other factors will be equally important in

evaluating the reliability of proffered expert opinion.” Frazier, 387 F.3d

at 1262. Thus, the trial court has considerable leeway to determine

whether proffered expert testimony is reliable. Id.

     Finally, the district court must assess whether the expert

testimony will assist the trier of fact. Put another way, the Court must




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ask whether the expert testimony “concerns matters that are beyond

the understanding of the average lay person.” Id.

II.   Discussion

      A.   Dr. Ronald Fishbach

      Mrs. Ghorley retained Fishbach to opine as to the relationship

between the MiniCaps and Mr. Ghorley’s injuries and death. Fishbach,

in an eight-page report, posits that “it is medically probable that Mr.

Ghorley’s episodes of peritonitis were due to contamination related to

the defective Minicaps [which] allowed bacteria and yeasts to gain

access to the peritoneal cavity.” [44-1] at 2. Fishbach states that “[i]t

seems more than coincidental that Mr. Ghorley never had peritonitis

before the time period during which he received defective Minicaps.” Id.

           1.    Defendants’ Arguments

      Defendants do not question Fishbach’s qualifications; rather, they

argue that his opinions are not reliable because (1) they are improperly

based on factual assumptions and a temporal relationship, and (2) they

fail to eliminate other potential causes of Mr. Ghorley’s illnesses and




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death. Consequently, Defendants assert that his opinions will not assist

the jury.

     Defendants first argue that Fishbach made improper assumptions

based on the fact that Baxter sent a posthumous recall letter to Mr.

Ghorley. In particular, they argue that Fishbach assumed that Mr.

Ghorley received and used a defective MiniCap which, in turn, caused

his peritonitis. To support their assertions, Defendants cite to

Fishbach’s acknowledgment that he could not ascertain whether Mr.

Ghorley received or used defective MiniCaps.

     Defendants also argue that Fishbach did not eliminate other

potential causes of Mr. Ghorley’s illnesses and death. They argue that

even though Fishbach recognized that multiple factors could have

caused peritonitis and death, he did not evaluate or rule out any of

them. Further, they argue that to the extent Fishbach did rule out other

causes, such a determination was based on assumptions, not evidence.

            2.   Plaintiff’s Response

     Mrs. Ghorley responds that it would be impossible for Fishbach to

determine whether her husband used the defective MiniCaps because

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the disposable MiniCaps are discarded after each use. She also asserts

that Fishbach’s opinion that the use of the MiniCaps would cause the

peritonitis falls within his experience and expertise.

      Mrs. Ghorley highlights the basis for Fishbach’s opinion: (1) Mr.

Ghorley’s bouts of peritonitis correspond with his receipt of MiniCaps

later recalled; (2) the MAUDE3 database corroborates Fishbach’s

opinion; and (3) Fishbach considered other risk factors. She asserts that

any challenges to Fishbach go to the weight and not the admissibility of

his testimony.

             3.    Analysis

      It is undisputed that the defective MiniCaps could cause

peritonitis. The parties dispute whether Mr. Ghorley used defective

MiniCaps and if so, whether those defective MiniCaps caused his

peritonitis and possibly his death.




      3  The Manufacturer and User Facility Device Experience database houses
medical device reports submitted to the Food and Drug Administration by
mandatory and voluntary reporters. MAUDE-Manufacturer and Use Facility Device
Experience, U.S. FOOD & DRUG ADMIN.,
https://www.accessdata.fda.gov/scripts/cdrh/cfdocs/cfmaude/search.cfm. (last visited
Aug. 28, 2019).

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     Defendants attack Fishbach’s assumption that Mr. Ghorley used

defective MiniCaps. That alone is not fatal to Fishbach’s testimony. It

would be impossible for Fishbach to determine whether Mr. Ghorley

used defective MiniCaps, as those MiniCaps were intended for one-time

use and have long since been discarded.

     More important is whether Fishbach’s opinion that the defective

MiniCaps caused Mr. Ghorley’s peritonitis is reliable. It is not. The

focus of a Daubert challenge “must be solely on principles and

methodology . . . .” Daubert, 509 U.S. at 595. The problem with

Fishbach’s opinion is that he identifies no principles or methodology.

“The trial court’s gatekeeping function requires more than simply

‘taking the expert’s word for it.’” McClain v. Metabolife Int’l, Inc., 401

F.3d 1233, 1244 (11th Cir. 2005) (quoting Advisory Committee’s 2000

Notes on FED. R. EVID. 702).

     In general, there are factors that courts should consider when

determining the reliability of an expert’s testimony. These factors

include, inter alia, whether a theory or technique has been tested and

subjected to peer review, whether a technique has a high known

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potential rate of error, and whether a theory or technique enjoys

general acceptance within a relevant scientific community. Daubert, 509

U.S. at 593–94. The Court is unable to apply any of these factors

because Fishbach fails to identify any theory or technique used to form

his opinion.

     Fishbach’s review of medical records, MiniCap order history, and

the MAUDE database are not sufficient to make his opinion reliable

given his inability to articulate how the review of those documents led

to the determination that the MiniCaps caused Mr. Ghorley’s

peritonitis. See Advisory Committee’s 2000 Notes on FED. R. EVID. 702

(“If the witness is relying solely or primarily on experience, then the

witness must explain how that experience leads to the conclusion

reached, why that experience is a sufficient basis for the opinion, and

how that experience is reliably applied to the facts.”).

     Mrs. Ghorley asserts that the MAUDE database supports

Fishbach’s opinion; however, that argument is unavailing because

Fishbach testified that he did not rely on the MAUDE database to

formulate his opinion.

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      Further, it seems that Fishbach’s opinion is based on a temporal

relationship. Fishbach opines that because Mr. Ghorley contracted

peritonitis around the time he receives defective MiniCaps, the

MiniCaps caused the condition.

      In McClain, 401 F.3d at 1243, the Eleventh Circuit held that

“proving a temporal relationship . . . does not establish a causal

relationship.” In that case, the plaintiffs took a weight-loss drug and

suffered from conditions such as strokes and heart attacks. The court

held that simply showing that a person took the drug and suffered an

injury does not show causation.4 Similarly here, just because Mr.

Ghorley used MiniCaps from the defective lots does not mean that that

use caused his peritonitis and subsequent death.

      Defendants also criticize Fishbach’s failure to exclude other causes

of the peritonitis. Had this been a case in which Mr. Ghorley suffered

from no other health problems, this failure might not matter. However,

the reality is that Mr. Ghorley was an ill man; he had end-stage renal


      4 In McClain, the Eleventh Circuit reversed the trial court’s admission of the
expert testimony for many reasons, including the expert’s reliance on a temporal
relationship.

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disease. Fishbach failed to consider any other causes of his peritonitis,

including user error, i.e., failure to maintain aseptic technique.

Fishback also failed to consider any other causes of Mr. Ghorley’s

subsequent death. This failure is significant considering that Mr.

Ghorley did not show any signs of infection when he was discharged

from the hospital following his second bout of peritonitis. Moreover, the

death certificate does not mention peritonitis at all. Instead, Fishbach

states that he relied on his “clinical judgment” to determine the cause of

the infection. [66-10] at 23.

     Fishbach’s failure to consider alternative causes of Mr. Ghorley’s

peritonitis makes his testimony unreliable. See Chapman v. Procter &

Gamble Distrib., LLC, 766 F.3d 1296 (11th Cir. 2014) (affirming district

court’s decision to exclude an expert for failure to rule out possible

alternative causes of the plaintiff’s disease when numerous other

potential causes existed).

     Accordingly, the Court will exclude Fishbach’s testimony.




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     B.       Dr. David Ross

     Mrs. Ghorley hired Ross to opine on (1) the regulatory adequacy of

product labeling for the MiniCaps; (2) compliance by Baxter with

respect to the current Good Manufacturing Practices (cGMPs) and other

applicable Food and Drug Administration standards regarding the

MiniCaps; (3) the regulatory adequacy of Baxter’s inclusion of

manufacturing and design standards relating to the depth of the

sponge; and (4) the regulatory adequacy of Baxter’s notification

procedures to the FDA.

     Defendants seek to exclude Ross’s opinions on the basis that he is

not qualified as an expert in medical devices, and his opinions are

unreliable.

     Ross has an impressive résumé. He received his bachelor of

science degree in molecular biophysics and biochemistry from Yale

University. He received his masters of science and doctorate in

biochemistry and his medical degree from New York University.

     Ross is an associate clinical professor of medicine at George

Washington University School of Medicine and Health Science and

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Director of HIV, Hepatitis, and Related Conditions Program at the

Department of Veterans Affairs.

     However, his previous employment is most germane to the current

motion. Ross spent ten years working at the FDA, where he spent much

of his time with the Center for Drug Evaluation and Research.

     Ross opines as follows. First, the product labeling for the

MiniCaps did not provide adequate warnings about the potential risks

of peritonitis from missing or malpositioned sponges. Next, Baxter was

not compliant as to cGMPs and other applicable FDA standings,

including monitoring and responding to evidence of

manufacturing/design defects. Third, Baxter failed to construct,

validate, and implement design and manufacturing standards relating

to the depth of the sponge. Finally, Baxter’s notification procedures and

its corrective actions with respect to design and/or manufacturing

defects in the subject MiniCaps were inadequate because of the lack of

timeliness, the potential increase in risk, and the size of the at-risk

population.




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           1.    Ross Is Not Qualified

     The issue here is whether Ross is qualified to give these opinions

in light of his work experience at the FDA but lack of experience

working with medical devices. The Court holds that Ross is not

qualified to give this particular testimony.

     Ross has no experience with medical devices, which are governed

by a specific section of the Food, Drug, and Cosmetic Act, which is

implemented and enforced by the FDA’s Center for Devices and

Radiologic Health. Ross worked for the Center for Drug Evaluation and

Research, not the Center for Devices. He acknowledges that he is not

familiar with regulations that govern medical devices.

     Mrs. Ghorley responds that Defendants improperly focus on Ross’s

experience with medical devices. Instead, she argues, “a witness can

know about notification procedures and labeling without qualifying as a

medical device design engineer.” [68] at 8.

     Mrs. Ghorley cites Dolin v. Smithkline Beecham Corp., No. 12 C

6403, 2015 WL 7351678 (N.D. Ill. Nov. 20, 2015), to support her

assertion that Ross’s experience in drug regulation is transferable to

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other areas. In that case, Ross was challenged as unsuited to offer a

regulatory opinion regarding the psychotropic drug Paxil because he

was not a psychiatrist. The court allowed Ross’s testimony.

     That case is distinguishable from this case. In Dolin, the plaintiff

brought a claim against the defendant for failure to adequately warn of

the risk of adult suicidality as a side of effect of taking Paxil. Ross

testified that the Paxil label did not provide adequate warnings about

the risk of suicidal behavior. The defendant sought to exclude Ross’s

testimony because he lacked the qualifications and expertise to opine on

the adequacy of the labeling. Ross was allowed to testify about labeling

and regulatory and compliance for a drug—something that fits within

the ambit of his expertise in pharmaceutical regulation.

     In this case, Ross is not testifying about pharmaceutical

regulation; he is testifying about medical device regulation. Ross’s time

at the FDA has nothing to do with the regulation, label, or manufacture

of medical devices. His time at the FDA working with pharmaceuticals

does not make him an expert on labeling medical devices.




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     There is no doubt that Ross is qualified as a physician; however,

this first prong of the Daubert analysis requires the Court to “examine

the credentials of the proposed expert in light of the subject matter of

the proposed testimony.” Jack v. Glaxo Wellcome, Inc., 239 F. Supp. 2d

1308, 1314 (N.D. Ga. 2002). Ross is not an expert on medical devices or

the regulation of those devices. He has never testified as an expert in a

case involving a medical device, and he has minimal experience

presenting and publishing on medical devices.

           2.    Ross’s Opinions Are Not Reliable

     Moreover, Ross’s testimony is unreliable. Defendants attack

multiple aspects of Ross’s testimony. First, they assert that Ross did not

examine Baxter’s manufacturing process, specifications, or quality

control procedures and that his opinion is based on only the recall of the

MiniCaps. Next, they assert that Ross relies on information that is not

binding on device manufacturers. Finally, they argue that Ross cannot

cite to facts, regulatory authority, testimony, or experience to support

his conclusion that the labels were inadequate.




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     Mrs. Ghorley’s response to Defendants’ attack is lackluster. She

argues that it does not matter that Ross did not review Baxter’s

manufacturing procedures, specifications, or quality control procedures

because he is not offered as a manufacturing expert. Rather, she asserts

that he is an expert in FDA regulatory processes. She also claims that it

is proper for Ross to rely on reasonable assumptions to make his

conclusions.

     First, Ross’s failure to review Baxter’s manufacturing and quality

control processes is fatal to Mrs. Ghorley’s argument that his opinions

are admissible. Ross cannot opine that Baxter failed to establish and

maintain procedures to ensure that specified design requirements are

met without reviewing those procedures. To the extent Ms. Ghorley

argues that Ross could rely on assumptions, it is not clear which

assumptions she refers to.

     Next, Ross bases much of his testimony on the manual published

by the Center for Drug Evaluation and Research, not the Center for

Devices and Radiologic Health. It simply makes no sense for an expert




                                   19
to base his opinions upon a document that does not apply to the product

at issue.

      Finally, Ross’s opinion as to the MiniCap product label is

conclusory. Ross does not identify any facts, regulatory authority,

testimony, or experience to support his conclusion that the label was

misbranded. Though Ross seems to have relied on his experience to

form his opinion on the label, he does not explain how his experience

leads to his conclusion.

      Accordingly, the Court will exclude Ross’s testimony.

      C.    J.P. Gingras

      Mrs. Ghorley retained J.P Gingras to opine on the economic loss

resulting from her husband’s death. Defendants assert that Gingras’s

calculation of lost Social Security benefits and household services is

unreliable. Defendants also assert that Gingras’s life expectancy

calculator is misleading.

      Mrs. Ghorley asserts that Defendants do not challenge Gingras’s

methods but his underlying assumptions. In particular, Mrs. Ghorley




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points out that Defendants do not suggest that Gingras applied

incorrect formulas or that his calculation methodologies are faulty.

     Defendants object to three distinct aspects of Gingras’s opinion.

The Court will address each one in turn.

           1.    The Amount of Mr. Ghorley’s Social Security
                 Benefits Goes to the Weight of the Testimony

     Defendants first assert that Gingras’s opinion regarding Mr.

Ghorley’s lost Social Security benefits is unreliable, misleading, and

unhelpful to the trier of fact. Specifically, Baxter argues that Gingras

calculated Mr. Ghorley’s lost Social Security income based on a medical

record from the Atlanta Veterans Affairs Medical Center and did not

verify that Social Security income from any other document.

     Mrs. Ghorley fails to explicitly address this argument other than

to say that Defendants challenge only Gingras’s underlying assumption.

     The documents upon which Gingras relies to calculate lost Social

Security income go to the weight of the evidence rather than the

admissibility. Defendants will have the opportunity at trial to cross-

examine Gingras and point out any perceived flaws in his calculations,

as well as to present contrary evidence to refute Gingras’s testimony as
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to the amount of Mr. Ghorley’s Social Security income. Accordingly, the

Court will allow this testimony.

            2.    Mr. Ghorley’s Contributions to the Household Go
                  to the Weight of the Evidence

      Baxter next argues that Gingras’s opinions regarding the value of

Mr. Ghorley’s household services are unreliable, misleading, and

unhelpful to the trier of fact. Specifically, Baxter claims that Gingras’s

opinion on loss of household services ignores the specific facts of this

case, particularly that Mr. Ghorley did not perform any household

duties after he began hemodialysis in 2012.

      Again, Mrs. Ghorley responds by stating that Defendants attack

only Gingras’s underlying assumptions and that mortality tables are

frequently used by accountants and economists to calculate the loss of

household services.

      In Gingras’s deposition, he states that he calculated the loss of

household services based on their replacement cost at an hourly rate.

Before calculating that number, Gingras did not determine the actual

contribution that Mr. Ghorley made prior to his death because “that’s a

question of fact.” [66-16] at 28.
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     The Court agrees. Defendants’ challenge to this aspect of

Gingras’s testimony goes to its credibility rather than its admissibility.

Gingras uses assumptions to calculate the loss of economic services. But

assumptions do not render methodology inadmissible. See Berk-Cohen

Assocs., LLC v. Orkin Exterminating Co., No. CIV.A. 94-3090, 2004 WL

445132, at *2 (E.D. La. Mar. 10, 2004).

           3.    Gingras’s Life Expectancy Opinion Is
                 Inadmissible

     Finally, Defendants assert that Gingras’s life expectancy

calculation is misleading and will not assist the trier of fact.

Specifically, Defendants argue that Gingras’s opinion is generic because

he uses a general life expectancy table, the United States Life Tables.

The U.S. Life Tables indicates the average life expectancy of all males

in the United States and does not take into account Mr. Ghorley’s

serious health issues. Defendants assert that Gingras’s use of the

general life expectancy tables is particularly problematic because a

different source—the United States Renal Data Service—publishes life

expectancy tables that do address the lower life expectancy of an

individual with renal disease.
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      Mrs. Ghorley responds that Gingras’s assumptions are supported

by the facts of this case. She argues that Gingras evaluates Mr.

Ghorley’s assumed life expectancy and that the United States Life

Tables is a well-recognized, widely accepted source5 used by

professionals to develop reasonable assumptions of life expectancy.

      Defendants cite Rinker v. Carnival Corp., No. 09-23154-CIV, 2012

WL 37381, at *2 (S.D. Fla. Jan. 6, 2012), to support their assertions

that Gingras’s failure to take “medical issues into account when

calculating life expectancy makes his opinion and calculations

inaccurate and speculative.” [76] at 9. In Rinker, the court excluded a

life-care-planning expert’s report as speculative because its life

expectancy calculations were based upon on a healthy sixty-two-year-

old woman instead of the plaintiff, who was a sixty-two-year-old woman

with cancer. The court held that the expert was not reliable because all

calculations were based on the life expectancy of a healthy woman.

Accordingly, Defendants assert that Gingras cannot ignore Mr.



      5 The United States Life Tables is published by the National Office of Vital
Statistics of the United State Department of Health and Human Services.

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Ghorley’s known conditions when making a damages calculation. The

Court agrees. Mr. Ghorley suffered from many serious medical

conditions, enough so that it cannot be said that his mortality could

reasonably be expected to be the same as that of the “average” 67-year-

old male.

     Accordingly, the Court will exclude Gingras’s testimony as to Mr.

Ghorley’s life expectancy. While Gingras may generally testify as to Mr.

Ghorley’s lost Social Security income and loss of household services, he

may not multiply those annual amounts by the number of years Mr.

Ghorley might have been expected to live.

III. Conclusion

     For the foregoing reasons, Defendants’ motion is granted as to

Fishbach and Ross and granted in part but denied in part as to Gingras.

The parties should submit their proposed pretrial order by October 7.

This case will go trial before a jury on Monday, February 24, 2020.




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IT IS SO ORDERED this 9th day of September, 2019.



                         ____________________________________
                         Timothy C. Batten, Sr.
                         United States District Judge




                          26
